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                                                                          FILED: June 1, 2022


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 21-1324
                                      (3:19-cv-00578-GCM)
                                      ___________________

        PAUL MANOS; MARGARET M. MANOS

                     Plaintiffs - Appellants

        v.

        FREEDOM MORTGAGE CORPORATION

                     Defendant - Appellee

                                      ___________________

                                         MANDATE
                                      ___________________

              The judgment of this court, entered March 24, 2022, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk




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